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                                                                     2018 JUL ! 7          PH ?: 32
                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF Q^^S'DlsfS N^li!
                                       WESTERN DIVISION                    ' C1.FVRANP ' '""'

 UNITED STATES OF AMERICA,                             INDICTMENT


                Plaintiff,                                          JUDGEZOUHAR
         v.                                             CASE
                                                                                         \J IA          i   A


 EL'SHAWN WILLIAMS                                      Title 18, United States Code, Sections 242,
                                                        1512, and 1519
                Defendant.




                                             COUNT 1
                              (Deprivation of Rights - 18 U.S.C. § 242)

       The Grand Jury charges:

        1.     On or about August 25, 2017, in the Northern District of Ohio, Western Division,

DefendantEL'SHAWN WILLIAMS, while acting under color of law as a corporal in the Put-in-

Bay Police Department, punchedand struck C.G. in the face and body, and therebywillfully

deprived C.G. of a right secured and protected by the Constitution and laws of the United States

to be free from unreasonable seizure, which includesthe right to be free from unreasonable force

by a law-enforcement officer. This offense resulted in bodily injury to C.G.

       In violation of Title 18, United States Code, Section 242.

                                             COUNT 2
                                 (False Report- 18 U.S.C. § 1519)

       The Grand Jury further charges:

       2.     On or aboutAugust25, 2017, in the Northern District of Ohio, Western Division,

Defendant EL'SHAWN WILLIAMS, while acting inrelation to and in contemplation of a matter
